Case 4:06-cV-10094-KI\/|I\/| Document 34 Entered on FLSD Docket 01/25/2007 Page 1 of 4

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

Case No. 06-10094-CIV-MOORE/GARBER
JEAN FRANCOIS HUCHON,

Plaintiff,
v.

MICHAEL JANKOWSKI and ALAMO
FlNANCING, L.P., a foreign limited partnership,

Defendants.
/

ORDER DENYING PLAINTIFF’S MOTION FOR REMAND

THIS CAUSE came before the Court upon Plaintiff’s Motion for Remand (DE # 7).
Defendants filed a Response in Opposition (DE # 8) in which they state that complete diversity
of citizenship exists between the parties and the amount in controversy exceeds $75,000.00.
Plaintiff filed a Reply (DE # 9) and an Amended Reply (DE # 15).

UPON CONSIDERATION of the Motion, the pertinent portions of the record, and being
otherwise fully advised in the premises, the Court enters the following Order:

I. BACKGROUND

In August, 2006, Plaintiff filed a two-count complaint in the Sixteenth Judicial Circuit in
and for Monroe County, Florida, based on an automobile and motor scooter accident which
occurred on or about February 22, 2006. Count I of the Complaint alleges Michael Jankowski
("Jankowski") was negligent in his operation of a motor vehicle, resulting in a collision with, and
injury to, Plaintiff. Compl. at 3-4. In Count Il, Plaintiff claims Defendant Alamo Financing, L.P.
("Alamo") is vicariously liable for his injuries, as owner of the motor vehicle driven by
Jankowski. Compl. at 5-7. Defendants filed a Notice of Removal (DE # l) claiming diversity of
citizenship Plaintiff moved for this Court to remand, arguing the removal was defective. Pl.

Mot. for Remand at l.

Case 4:06-cV-10094-KI\/|I\/| Document 34 Entered on FLSD Docket 01/25/2007 Page 2 of 4

II. DISCUSSION

On a motion to remand, “the removing party bears the burden of establishing jurisdiction.”

Diaz v. Sheppard, 85 F.3d 1502, 1505 (l lth Cir. 1996) (citing Tapscott v. MS Dealer Serv. Co;p., 77

F.3d 1353, 1356 (l lth Cir.l996)). The removal statute should be construed narrowly with doubt
construed against removal. g Shamrock Oil & Gas Co_r_p. v. Sheets, 313 U.S. 100, 107-09 (l94l).
This strict construction of removal statutes prevents “exposing the plaintiff to the possibility that they
may win a final judgment in federal court, only to have it determined that the court lacked
jurisdiction . . . .” Crowe v. Coleman, 113 F.3d 1536, 1538 (l lth Cir. 1997).

Subject matter jurisdiction based on diversity of citizenship exists in civil actions where
the amount in controversy exceeds $75,000 and the action is between “citizens of different States
and in which citizens or subjects of a foreign state are additional parties.” 28 U.S.C. §
l332(a)(3). Diversity jurisdiction requires complete diversity between named plaintiffs and
defendants _S__e§ Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 580 n. 2 (1999) (citing
Strawbridge v. Curtiss, 3 Cranch 267, 7 U.S. 267 (1806)). For purposes of determining diversity,
“a corporation shall be deemed to be a citizen of any State by which it has been incorporated and

of the State where it has its principal place of business.” § Sweet Pea Marine Ltd. V. APJ

 

Marine inc., 411 F.3d 1242, 1247 (11111 cir. 2005) (citing 28 U.S.C. § 1332(¢)(1)). “A

 

corporation’ s principal place of business is determined by looking at the ‘total activities’ of the
corporation.” Bel-Bel Int'l Cor_‘p. v. Cmty. Bank of Homestead, 162 F.3d 1101, 1106 (1 lth Cir.
1998). “This analysis incorporates both the ‘place of activities’ test (focus on production or sales
activities), and the ‘nerve center’ test (emphasis on the locus of the managerial and policymaking
functions of the corporation).” Vareka Invs., N.V. v. Am. Inv. Prop., Inc., 724 F.2d 907, 910

(l lth Cir. 1984). The burden for establishing federal subject matter jurisdiction rests with the

party invoking federal jurisdiction. E McCormick v. Aderholt, 293 F.3d 1254, 1257 (1 lth Cir.

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Case 4:06-cV-10094-KI\/|I\/| Document 34 Entered on FLSD Docket 01/25/2007 Page 3 of 4

2002) (per curiam). That party must prove, by a preponderance of the evidence, the facts
supporting federal jurisdiction. SLM.

Plaintiff claims the Complaint does not provide a basis for diversity jurisdiction, as it
does not make allegations about the citizenship of the Defendants, only about their states of
residence. Pl. Mot. for Remand at 3. Plaintiff also claims the Notice of Removal fails to allege
the citizenship of Jankowski, noting only his residence in Buffalo, New York, or the citizenship
of either Defendant at the time of the Complaint or the removal. I_d. at 5. Plaintiff argues that
this Court cannot look to the Affidavit of Michael Jankowski, attached as an exhibit to the Notice
of Removal, for this allegation, as Plaintiff suggests such an affidavit is not allowed under the
relevant statute, and if it were, the affidavit is technically defective. I_d_. at 6. Plaintiff does not
claim that diversity does not exist, merely that it is not sufficiently or properly pled. §§
generally, §

When diversity of citizenship is the basis for federal jurisdiction, the diversity must exist

at the time of the Complaint. OJB Inc. v. Dowell, 650 F. Supp. 42, 43-44 (N.D. Tex. 1986); §

 

generally, 14B C. Wright, A. Miller & E. Cooper, F ederal Practice and Procedure, § 3723 (1998)
(hereinafter "Federal Practice and Procedure"). The allegations of diversity, however, are not
required to exist i_n the Complaint. Davis v. Cluet. Peabodv & Co.. 667 F.2d 1371, 1373 (l lth
Cir. 1982), reh'g denied, 673 F.2d 1342 (1 lth Cir. 1982); Woolard v. Heyer-Schulte, 791 F.
Supp. 294, 295-97 (S.D. Fla. 1992); Wright v. Continental Casualtv Co., 456 F. Supp. 1075,
1077 (M.D. Fla. 1978); Federal Practice and Procedure § 3723. This Court may consider other
filings, in addition to the Plaintiffs Complaint.

Defendants' Notice of Removal (DE # 1) contains sufficient allegations to sustain

removal of this case to federal court, and the allegations are not contradicted by Plaintiff. The

Case 4:06-cV-10094-KI\/|I\/| Document 34 Entered on FLSD Docket 01/25/2007 Page 4 of 4

Notice alleges Plaintiff "at all times material to the Complaint, was and is a Florida resident
domiciled in Monroe County, Florida." Notice of Removal at 11 12. lt alleges Defendant Alamo,
"at all times relevant in this action, was and is a Delaware Limited Partnership that has its
principal place of business in the State of Oklahoma [and therefore] is a citizen of the States of
Delaware and Oklahoma." Ld. at 11 13. The allegations regarding Defendant Jankowski's
citizenship are less direct, as Defendants claim he "was and is a natural person and resident of the
[sic] Buffalo, New York" and alleging Plaintiffs have already admitted "Mr. Jankowski's foreign
domicile." I_d. atj| 14. Defendants also specifically allege diversity in their Notice. I_d_. at 1115.
The Notice does contain sufficient allegations regarding diversity,
III. CONCLUSION

As plaintiff merely argues the pleading is insufficient, but does not contest the existence
of actual diversity, it is

ORDERED AND ADJUDGED that Plaintiff’s Motion for Remand (DE #7) is DENIED.
Defendants have sustained their burden that jurisdiction in this Court is proper under 28 U.S.C. §
1332 and, therefore, remand to Florida state court is unwarranted

DONE AND ORDERED in Chambers at Miami, Florida, this)j [aéy of January, 2007.

MMvI/ww

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UNITED sTATEs DISTRICT JUDGE

cc: All Counsel of Record
U.S. Magistrate Judge Barry L. Garber

